                         UNITED STATES DISTRICT COURT
                                       for the
                                District of Colorado



 COLORADO MONTANA WYOMING                       )
 STATE AREA CONFERENCE OF THE                   )
 NAACP, LEAGUE OF WOMEN VOTERS                  )
 OF COLORADO, and MI FAMILIA VOTA               )   Civil Action No. 1:22-cv-00581-PAB
                                                )
 Plaintiffs,                                    )
                                                )
         -v-                                    )
                                                )   BENCH TRIAL
                                                )
 UNITED STATES ELECTION INTEGRITY               )
 PLAN, SHAWN SMITH, ASHELY EPP,                 )
 and HOLLY KASUN                                )
                                                )
 Defendants.                                    )



     DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION TO
                      DISMISS COUNTERCLAIMS



       COMES NOW, Defendants, USEIP, Shawn Smith, Ashely Epp, and Holly Kasun,

by and through undersigned counsel, and hereby submit this Response in Opposition to

Plaintiffs’ Motion to Dismiss Counterclaims [Doc. 49] as follows:

                                   Defamation Claim

       Plaintiffs argue that because the defamatory statements were made in the course

of litigation by attorneys, they are absolutely privileged from a claim of defamation.

Colorado courts provide privilege to attorneys as follows: “(1) a lawyer is absolutely

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privileged to publish defamatory matter about another person or party; (2) in

communications preliminary to a proposed judicial proceeding or (3) in the institution of,

or during the course and as part of, a judicial proceeding in which the lawyer participates

as counsel; (4) if it has some relation to the proceeding.” BKP, Inc. v. Killmer, Lane &

Newman, LLP, 506 P.3d 84, 90 (Colo. App. 2021) (citing Restatement (Second) of Torts

§ 586). However, this privilege has limits, including that “the maker of the statement and

the recipient must be involved in and closely connected with the proceeding.” Club

Valencia Homeowners Ass’n, Inc. v. Valencia Associates, 712 P.2d 1024, 1027 (Colo.

App. 1985).

       Courts have distinguished the litigation privilege when the statement was made to

the press in a conference or release. “This means that attorneys who make statements

during press conferences, in press releases, and on social media do so at their own risk.”

BKP, Inc., 506 P.3d at 91 1. Following this authority, the Court in BKP concluded “that the

statements made during the press conference and in the press release are not protected

by the litigation privilege.” Id. at 93. Unlike the statements made in this matter, the



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 The Court cites several cases outlining the limitation of the litigation privilege in the context of
press releases. These cases are summarized in the opinion as follows: No privilege for press
conferences or press releases; no privilege for social media posts; an attorney’s press conference
remarks did not fall within the sphere of activities the immunity was designed to protect;
comments to a newspaper reporter following the filing of a lawsuit are not part of the judicial
proceeding protected by the absolute privilege; separating “bona fide litigation activities” from
“public relations campaigns”; no privilege for statements made during a press conference
because the statements were excessively published, meaning they were published to more
persons than necessary to resolve the dispute or further the objectives of the proposed litigation;
analogizing statements published on a website to statements made during a press conference and
concluding that the statements were not privileged for want of a connection with judicial
proceedings. BKP, Inc., 506 P.3d at 91 (internal citations and quotations omitted).
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attorneys in the BKP case articulated a purpose for the excessive publishing, arguing that

it was in an attempt to reach others interested in joining the class action. Id. at 93-94.

Nevertheless, the Court found that the attorneys “broadly published the allegedly

defamatory communications to those having no interest in the case.” Id. at 94.

      Plaintiffs argue that because the defamatory statements at issue also exist in their

Complaint, the statements were “made in reference and relation to the subject matter of

the pending litigation.” [Doc. 49, pg. 6]. While it may be true that these defamatory

statements are included in the Complaint, it is not the Complaint itself which makes up

the publications. Rather, Plaintiff, League of Women Voters (LWVCO) released a press

release, written by Shannon Augustus and posted on League of Women Voters’ website

as a press release. Colorado Voting Rights Advocates File Lawsuit Against Voter

Intimidation, Shannon Augustus, (March 9, 2022), https://www.lwv.org/newsroom/press-

releases/colorado-voting-rights-advocates-file-lawsuit-against-voter-intimidation.    This

article links to the Complaint and Memorandum in Support. The majority of the statements

contained in this article are not those of counsel. Therefore, the litigation privilege is

inapplicable. Next, Plaintiffs correctly note that counsel on this matter are employed with

Free Speech For People, another entity which published defamatory statements. [Doc.

49, pg. 6]. However, similarly to the press release by LWVCO, the published defamatory

statements are not those of lawyers representing the parties. The article does not have a

clear author, however, it was published for anyone to view on Free Speech For

People.org. Even if the counsel authored this article, absolute privilege only attaches if

the statement has some relation to the proceeding. Further, and even more clear in this


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context, “the maker of the statement and the recipient must be involved in and closely

connected with the proceedings.” Club Valencia, 712 P.2d at 1027 (emphasis added).

       The public at large is an is “an audience wholly unconnected to the judicial process.

Consequently, neither the content nor the occasion of the communications warrants

absolute privilege. . .” Seidl v. Greentree Mortg. Co., 30 F.Supp.2d 1292, 1314 (D.Colo.

1998) (citing Kleier Advertising, Inc. v. Premier Pontiac, Inc., 921 F.2d 1036 (10th Cir.

1990) (internal quotations omitted)). Had the publication of these defamatory statements

ceased at the filing of the complaint, or were kept for the sole purpose of furthering

litigation, Plaintiffs’ arguments regarding absolute privilege may have merit. However, that

is not what occurred here. “Similarly, in this case, an attorney who wishes to litigate her

case in the press and via the Internet does so at her own risk. There is no absolute

privilege under Colorado law for statements by an attorney or by a party made to the

press or gratuitous statements posed on the Internet for the purpose of publicizing the

case to persons who have no connection to the proceeding except as potentially

interested observers.” Seidl, 30 F.Supp.2d at 1315.

       Moreover, the republication of the defamatory statements contained in the

pleadings themselves are not subject to privilege. The articles, press releases, and

websites published by Plaintiffs have links to the original Complaint and the Memorandum

in Support of the Motion for Preliminary Injunction. [Doc. 1, 6]. These filings are riddled

with defamatory statements regarding the Defendants, accusing them of being connected

with terrorist organizations and intimidating voters on a racial basis.




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       Analogous to the publications here, the Court in Westfield recognized that by filing

a lis pendens, effectively a republication of a simultaneously filed complaint, an attorney

is only granted qualified immunity. Westfield Dev. Co. v. Rifle Inv. Assocs., 786 P.2d 1112,

1117 (Colo. 1990). There, the Court balanced “the policy of encouraging free access to

the courts which is the basis of an absolute privilege [and found that it] is outweighed by

the intentional and improper interference with contract by means of litigation not brought

in good faith.” Id. at 1117; also see Begley v. Ireson, 399 P.3d 777 (Colo. App. 2017). The

“good faith” requirement is articulated in Belinda A. Begley & Robert K. Hirsch Revocable

Tr. V. Ireson, 490 P.3d 963, 973-75 (Colo. App. 2020), which rejected that the filing of the

lawsuit, alone, could establish good faith. Id. at 973.

       In addition to the good faith requirement, Plaintiffs cannot avoid that the

republication of the complaint and memorandum of law bears no relation to the

proceedings nor provides any advancement to judicial functions. See Seidl, 30 F.Supp.2d

at 1315. Adding a copy of the Complaint to their website resulted in publication to the

entire word, an audience who is, at best, concerned observers. Id. Therefore, any

privilege, absolute or qualified, cannot protect the defamatory statements made by

Plaintiffs and their counsel. The privilege does not extend to publications made to an

audience with no relation to the case. Plaintiffs and their counsel chose to publish

defamatory articles and republish the complaint and memorandum in support to the




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general public via the internet. These defamatory statements, whether made by counsel

or not are not granted absolute privilege. 2

                                    ABUSE OF PROCESS

        Plaintiffs argue that the counterclaim for abuse of process fails for lack of an ulterior

motive and that the relief sought is consistent with the claims alleged. [Doc. 49, pg. 8-12].

What Plaintiffs cannot avoid is that they are not entitled to any of the relief they seek, and

therefore the relief itself is an improper use of the legal system.

     A. Plaintiffs Do Not Have a Colorable Claim

        Plaintiffs argue that “if a party files ‘claims that are colorable on their face, and

requests relief consistent with the claims alleged,’ there is no abuse of process, even if

the claims are factually baseless.” Pinion Sun, 2019 WL 140710, at *5 (internal citations

omitted). Based on this limit to an abuse of process claim, Plaintiffs argue that the relief

which they have requested is consistent with the claims that were alleged in the

Complaint. [Doc. 49, pg. 11]. Further, Plaintiffs argue that the purpose of the lawsuit is to

prevent the Defendants from engaging in the conduct which is the basis for their ulterior

motive alleged in the counterclaim. These theories fail because the underlying lawsuit

seeks relief which cannot be granted to any of the Plaintiffs.

i.      Voting Rights Act Remedies and Sanctions 52 U.S.C. § 10308.



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  Plaintiffs argue that the pleading requirements of F.R.C.P. 11 have been met and that reliance
on one source is permitted. [Doc. 49, pg. 7]. However, the allegations of Plaintiffs’ failure to
investigate are included for the purpose of establishing actual malice under the elements of a
libel per se action. Actual malice with regard to investigation can be established by a lack of
corroboration and grossly inadequate investigation. Kuhn v. Tribune Republican Pub. Co., 637
P.2d 315, 319 (Colo. 1981).
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       Plaintiffs’ Complaint seeks relief for alleged violation of the Voting Rights Act, 52

U.S.C. § 10307(b), which prohibits intimidating, threatening, or coercing any person for

voting or attempting to vote. 52 U.S.C. § 10307(b), Prohibited Acts. Plaintiffs fail to

acknowledge the following section of the Voting Rights Act, which delineates the available

remedies and sanctions for a violation. See 52 U.S.C. § 10308, Civil and Criminal

Sanctions. Importantly, the only remedy available for a violation of § 10307(b) is as

follows:

      Whenever any person has engaged or there are reasonable grounds to
      believe that any person is about to engage in any act or practice prohibited
      by section 10301, 10302, 10303, 10304, 10306, or 10307 of this title . . . the
      Attorney General may institute for the United States, or in the name of the
      United States, an action for preventative relief, including an application for
      a temporary or permanent injunction, restraining order, or other order . . .
52 U.S.C. § 10308(d), Civil action by Attorney General for preventative relief; injunctive

and other relief.

       With no other avenues for relief under § 10307(b), Plaintiffs cannot expect to usurp

the rights expressly given to the Attorney General to bring an action for civil relief for the

United States or in the name of the United States. The mere initiation of this litigation by

which Plaintiffs have no right to pursue is an obvious abuse of the legal system.

       Therefore, the requests contained in the Prayer for Relief, to the extent they are

related to violations of 52 U.S.C. § 10307(b), are statutorily impermissible. See [Doc. 1

pg. 13-15, ¶ a-n]. The argument that the requests for relief are consistent with the claims

alleged fails because Plaintiffs have no right to bring a claim under this section. The lack

of available remedies goes far beyond the claims being factually baseless. Without a




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mere possibility of recovery, its unfathomable to believe that the relief requested is

consistent with the claims alleged.

ii.    The Ku Klux Klan Act, 42 U.S.C. § 1985(3)

       Similarly, Plaintiffs have no cognizable path to obtain relief under the claim of 42

U.S.C. § 1985(3). The section for which Plaintiffs seek relief states:

      . . .[I]f two or more persons conspire to prevent by force, intimidation, or
      threat, any citizen who is lawfully entitled to vote, from giving his support or
      advocacy in a legal manner, toward or in favor of the election . . .or to injure
      any citizen in person or property on account of such support or advocacy;
      in the case of conspiracy set forth in this section, if one or more persons
      engaged therein do, or cause to be done, any act in furtherance of the object
      of such conspiracy, whereby another is injured in his person or property, or
      deprived of having and exercising any right or privilege of a citizen of the
      United States, the party so injured or deprived may have an action for the
      recovery of damages occasioned by such injury or deprivation, against any
      one or more of the conspirators.
42 U.S.C. § 1985(3), Depriving Persons of Rights or Privileges. (hereinafter “§
1985(3)”)

       While the statutory language in this section permits the recovery of damages, it

provides no substantive right by itself. Rather, this section merely provides remedy for

violations of the rights it designates. See Marino v. Bowers, 657 F.2d 1363 (3rd Cir. 1981);

Knight v. City of New York, 303 F.Supp.2d 485 (S.D.N.Y 2004); Oaks v. City of Fairhope,

Alabama, 515 F.Supp. 1004 (S.D. Ala. 1981). Therefore, it is necessary to look to the

underlying violation in order to determine the designated civil right at issue.

       Proof of state action in a § 1985(3) claim is an added requirement when the alleged

civil rights violation restrains only official conduct. In analyzing a conspiracy claim by

purely private parties in relation to deprivation of the First Amendment right to not

associate, the Supreme Court held, “[t]he rights, privileges, and immunities that § 1985(3)


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vindicates must be found elsewhere, and here the right claimed to have been infringed

has its source in the First Amendment. Because that Amendment restrains only official

conduct, to make out their § 1985(3) case, it was necessary for respondents to prove that

the state was somehow involved in or affected by the conspiracy.” United Broth. Of

Carpenters and Joiners of America, Local 610, AFL-CIO v. Scott, 463 U.S. 825, 833

(1983). The Plaintiff organizations in this matter are private parties. See [Doc. 1, ¶¶ 13-

15]. The Defendants are private individuals and an unorganized association. Id. at ¶¶ 16-

19. No party to this action is a state or government actor. Further, without the involvement

of the Attorney General as required by the Voting Rights Act outlined above, there has

been no involvement by the State/ Government for the actions complained of. Instead,

Plaintiffs chose to take it upon themselves to bring impermissible claims.

       Taking the private status of the parties into consideration, the availability of the

remedies afforded by § 1985(3) are limited to interference with “rights that are protected

against private, as well as official, encroachment.” Carpenters, 463 U.S. at 833. The only

cognizable rights available to both private and officials are the Thirteenth Amendment

right to be free from involuntary servitude and the right to interstate travel. Bray v.

Alexandria Women’s Health Clinic, 506 U.S. 263, 278 (1993). Therefore, Plaintiffs

allegation that Defendants interfered with one’s right to vote is not one which is permitted

by purely private parties. See Federer v. Gephardt, 363 F.3d 754, 758-59 (8th Cir. 2004)

(“Because no separate statute gives a citizen the independent federal right to support and

advocate on behalf of a candidate for Congress, the only otherwise defined federal rights

. . . are the First Amendment rights of freedom of association and freedom of expression.


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An alleged conspiracy to infringe First Amendment rights is not a violation of § 1985(3)

unless it is proved that the State is involved in the conspiracy . . .” (citing Carpenters, 465

U.S. at 830)).

       Since the parties in this case are purely private and the rights infringed upon are

those protected by the First Amendment, Plaintiffs cannot seek damages under §

1985(3). Even if State action was not required, which it is, the statutory language confers

“the party so injured or deprived may have an action for the recovery of damages

occasioned by such injury or deprivation. . .” § 1985(3). Although the issue of

organizational standing has been litigated before this Court [Doc. 27, 33 and 36], the right

to bring a claim under this specific statute has not.

       § 1985(3) requires a demonstration that the defendants acted “for the purpose of

depriving, either directly or indirectly, any person or class of persons of the equal

protection of the laws, or equal privileges and immunities under the laws. . .” § 1985(3).

Standing is conferred only to the persons actually deprived of their individual civil rights.

However, in some circumstances, entities such as corporations and organizations are

considered “people” granting constitutional rights including the equal protection and due

process of law cluses of the Fourteenth Amendment. See Grosjean v. American Press

Co., 297 U.S. 233 (1936). However, the deprivation of rights complained of in Plaintiffs’ §

1985(3) claim are limited only to “prevent Plaintiffs and others who are lawfully entitled to

vote from giving their support or advocacy toward the election. . . Plaintiffs and others

who are lawfully entitled to vote have been injured by Defendants’ behavior, which has

intimidated and threatened voters and potential voters.” [Doc. 1, ¶¶ 48-50]. Obviously, an


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organization or corporation is not a citizen who is lawfully entitled to vote, as required by

§1985(3). Therefore, Plaintiffs’ diversion of resources theory to establish standing cannot

be grounds for the deprivation of civil rights making up a § 1985(3) claim. Therefore, the

remedies sought in Plaintiffs’ Prayer for Relief, to the extent they relate to a violation of §

1985(3), are impermissible and leave no possible theory of recovery. [Doc. 1, pg.13-15,

¶¶ a-n].

   B. Defendants’ Constitutional Rights- Improper Purpose and Ulterior Motive

       Plaintiffs’ final argument that because the relief sought is consistent with the goal

of the lawsuit, the ulterior purpose that the Defendants’ constitutional rights are at risk is

insufficient to establish the elements of abuse of process. [Doc. 49, pg. 11-12]. Even if

Plaintiffs did not have a nefarious intent in filing this lawsuit, their motive only provides

context, “it still must be established that, viewed objectively, there was an improper use

of the process.” James H. Moore & Assoc. Realty, Inc. v. Arrowhead at Vail, 892 P.2d

367 (Colo. App. 1994). (Finding that the filings were “supported by plausible contentions

that Moore was a victim and that a contract could be proven.” This was distinguishable

from a similar case “in which plaintiff filed a notice of lis pendens knowing that he had no

claim to any interest in the property that was the subject of the notice.”) Id. at 374.

       As explained fully above, Plaintiffs have no right under any theory to the relief

sought. Knowing that they have no right to seek these remedies, Plaintiffs’ improper

motive is unavoidable. By filing this action, Plaintiffs attempt to usurp the State’s rights of

action, and ask the Court to eliminate Defendants’ constitutional rights of association,

speech, and to bear arms.


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       It is unfathomable to suggest that Plaintiffs’ request to “Order Defendants to cease

and desist going uninvited to voters’ homes in order to question voters or household

members . . . [and] Order Defendant USEIP to cease and desist coordinating or

organizing visits to voters’ homes in order to question voters . .” is not a clear attempt to

violate the protections afforded under the First Amendment. Canvassing efforts have long

been protected by our Courts. “Freedom to distribute information to every citizen

whenever he desires to receive it is so clearly vital to the preservation of a free society

that, putting aside reasonable police and health regulations of time and manner of

distribution, it must be fully preserved.” Martin v. City of Struthers, Ohio, 319 U.S. 141,

147 (1943). Moreover, “perhaps the most effective way of [to give information to]

individuals is their distribution at the homes of the people.” Schneider v. State of New

Jersey, Town of Irvington, 308 U.S. 147, 164 (1939). The censorship Plaintiffs seek

“strikes at the very heart of the constitutional guarantees.” Id. Plaintiffs’ also ask the Court

for an Order directing what Defendants may or may not say to voters. [Doc. 1, Prayer for

Relief, ¶ g].

       Not only are Plaintiffs’ requests in violation of the freedom of speech and press,

Plaintiffs ask the Court to violate Defendants’ right to freedom of association. Specifically,

Plaintiffs’ request for an order that USEIP cease and desist coordinating and organizing

visits to voters’ homes and an Order to cease and desist instructing or encouraging

anyone to carry weapons during USEIP-related interactions with voters. “The right to

associate thus recognizes one’s right to join with others to pursue goals independently

protected by the First Amendment, such as literary expression, political change, or


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religious worship. An abridgment of that right occurs when any insufficiently justified

governmental action interferes with or discourages a group’s pursuit of these First

Amendment interests.” State Bd. For Community Colleges and Occupational Education

v. Olson, 687 P.2d 429, 439 (Colo. 1984).

       The remaining requests for relief also abridge Defendants’ constitutional rights.

Plaintiffs’ request for an Order that Defendants stop taking photographs and stop

maintaining databases of voters, and asking for deletion of any such items is also in

violation of free speech and press. News gathering in a public forum is protected by the

First Amendment. J. Pub. Co. v. Mechem, 801 F.2d 1233 (10th Cir. 1986). Plaintiffs do

not allege that Defendants’ collection of voter information including photographs and

databases was derived by illegal means, or even in violation of the voter’s privacy. Rather,

Plaintiffs allege that photographs were merely taken of residences and vehicles; an action

fully within the purview of the First Amendment.

       Finally, Plaintiffs ask the Court for an order that Defendants cease and desist

carrying weapons when going to speak to voters at their homes. A person’s “right to bear

arms in self-defense is an important constitutional right.” Students for Concealed Carry

on Campus, LLC v. Regents of University of Colorado, 280 P.3d 18, 26 (Colo. App. 2010)

(internal citations and quotations omitted). Further, the legislature enacted C.R.S. § 18-

12-201 authorizing the concealed carry of a handgun “in all areas of the state, except as

specifically limited in this section.” § 18-12-214(1)(a), C.R.S. Specifically excluded are

places where the carrying of firearms is prohibited by federal law, the real property of any

public elementary, middle, junior high, or high school, and specific public buildings. § 18-


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12-214(3)-(5), C.R.S. Therefore, Plaintiffs’ request that Defendants cannot carry their

weapons where legally permitted by Constitution and by Statute is undeniably

impermissible.

       Plaintiffs’ legally impermissible requests violate the constitutional guarantees of

the Defendants. “The duty to prevent encroachment upon these constitutional guarantees

rests not only upon the legislature but upon the judicial branch of government.” Pueblo

Bldg. and Const. Trades Council v. Harper Const. Co. of Colo., 307 P.2d 468, 473 (Colo.

1957). The act of bringing this lawsuit, having no rights thereunder, and using the judicial

system to curtail Defendants’ undeniable Constitutional rights is the epitome of abuse of

process.

                                       CONCLUSION

       Plaintiffs’ Motion to Dismiss Defendants’ counterclaims must be denied. Plaintiffs

attempt to assert the absolute privilege for defamatory statements made in conjunction

with litigation. Yet, the publication of these defamatory statements was not limited to the

litigation itself. Rather, Plaintiffs chose to litigate via the press and internet and therefore

did so at their own peril. Plaintiffs cannot hide behind the litigation privilege when the

defamatory statements were disseminated to the general public. Therefore, Plaintiff’s’

request that the defamation claim be dismissed is unfounded and should be denied.

Plaintiffs’ argument that the abuse of process claim should be dismissed for having

brought this litigation for its stated purpose fails. To the contrary, Plaintiffs brought this

litigation having no right to even assert these claims against Defendants, in the hopes

that the legal system would grant requests abridging Defendants’ undeniable


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constitutional protections. The purpose of an abuse of process claim is to remedy the

precise actions Plaintiffs took here. Therefore, Plaintiffs’ motion to dismiss the abuse of

process claim should be denied. To the extent that dismissal is permitted, Defendants

request that the Court allow them to amend their pleadings to cure any defects.

      WHEREFORE, Defendants respectfully request that the Court deny Plaintiff’s’

Motion to Dismiss.

      Respectfully submitted this 17th day of June, 2022.

                                                 s/ Jessica L. Hays
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                        CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing RESPONSE IN OPPOSITION TO
PLAINTIFFS’ MOTION TO DISMISS COUNTERCLAIMS has been electronically served
through ECF this 17th day of June, 2022, to all counsel of record.


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